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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 AFG MEDIA LTD,

                               Plaintiff,                         Civil Action No. 2:23-cv-1840

 v.

 POPTREND-OFFICIAL, et al.,

                               Defendants.                    FILED UNDER SEAL



   REQUEST FOR JUDICIAL NOTICE OF TEMPORARY RESTRAINING ORDERS
   IN OTHER CASES GRANTING THE RELIEF SOUGHT IN THE PRESENT CASE

       Plaintiff is seeking an ex parte TRO and an ex parte Order for Alternative Service. Such

relief has been granted multiple times here in the Western District and in other Courts. Plaintiff

requests judicial notice of the following example orders in other cases granting the relief sought

in the present case:
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Ex. Case Name                        Platform(s)       Date       Document            Bond
                                                                                      Amt.
                                                       08/02/22   TRO                 $5,000
1   Pawesome Pet Products            Aliexpress.com,
    LLC, and Cindy Ghukasyan         Amazon.com,
                                                       07/28/22   Order Granting
    v. cutebear store, et al., No.   eBay.com,
                                                                  Motion
    22-1063 (W.D. Pa.) (Hornak,      Walmart.com,
                                                                  Authorizing
    J.) related to Nos. 22-cv-629,   Wish.com;
                                                                  Alternate Service
    22-cv-1584, 21-cv-217, and       related cases
    21-cv-1063                       include
                                     Alibaba.com
                                                       08/30/22   PI


                                     Amazon.com,
2   Nifty Home Products, Inc., v.                      05/02/23   TRO (Amended)       $5,000
                                     eBay.com,
    Maple leaves, et al., No 23-
                                     Walmart.com;
    687 (W.D. Pa.)(Schwab, J)                          04/28/23   Order Granting
                                     related cases
    related to Nos. 20-cv-1084,                                   Motion
                                     include
    21-cv-121, 21-cv-777, and                                     Authorizing
                                     Aliexpress.com,
    22-994                                                        Alternative
                                     Wish.com                     Service




                                                       06/06/23   PI

3   AquaPaw Brands LLC v.            Amazon.com;       12/10/21   TRO                 $5,000
    YAN-PENG, et al., No. 21-        related cases
    1784 (W.D. Pa.) (Wiegand,        include           12/10/21   Order Granting
    J) related to Nos. 21-cv-696,    Aliexpress.com               Motion
    21-cv-1784, and 20-1954          eBay.com, and                Authorizing
                                     Wish.com                     Alternate Service

                                                       01/21/22   PI




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Ex. Case Name                      Platform(s)      Date      Document             Bond
                                                                                   Amt.

4   Talisman Designs, LLC v.       AliExpress.com   7/21/20   TRO                  $5,000
    Dasani, et al., No. 20-1084    ,Amazon.com,                                    (after
    (W.D. Pa.)(Schwab, J)          eBay.com,Wish    7/21/20   Order Granting       text
                                   .com                       Motion               order
                                                              Authorizing          reduced)
                                                              Alternate Service

                                                    8/3/20    PI (after show
                                                              cause hearing via
                                                              Government
                                                              Zoom®
                                                              conferencing)




5   Ffrench v. The Partnerships    Amazon, eBay,    6/1/20    TRO and Order        $10,000
    and Unincorporated             AliExpress,                Granting Motion
    Associations Identified on     Wish, DHGate               Authorizing
    Schedule “A”, No. 20-cv-                                  Alternate Service
    03178 (N.D. Ill.) (Kennelly,                              (p. 10 of TRO)
    J.)

                                                    6/24/20   PI (after show
                                                              cause hearing
                                                              conducted by
                                                              telephone
                                                              conference
                                                              because of
                                                              COVID-19
                                                              restrictions)




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Ex. Case Name                      Platform(s)      Date      Document             Bond
                                                                                   Amt.

6   Apple Corps Ltd, et al v       Amazon.com,      5/21/20   TRO                  $10,000
    Merchclan.com, et al.,” No.    dhgate.com,
    20-cv- 60982 (S.D. Fl.)        Wish.com         5/21/20   Order Granting
    (Dimitrouleas, J)                                         Motion
                                                              Authorizing
                                                              Alternate Service

                                                    6/12/20   PI




7   Smart Study Co., Ltd. v. A     Alibaba.com,     2/27/20   TRO and Order        $5,000
    Pleasant Trip Store, No. 20-   AliExpress.com             Granting Motion
    cv-1733 (S.D.                                             Authorizing
    NY)(Vyskocil, J)                                          Alternate Service
                                                              (p. 10 of TRO)


                                                    5/7/20    PI (after show
                                                              cause hearing
                                                              conducted by
                                                              telephone
                                                              conference
                                                              because of
                                                              COVID-19
                                                              restrictions)




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                                   Respectfully submitted,



Dated: October 23, 2023            /s/ Stanley D. Ference III
                                   Stanley D. Ference III
                                   Pa. ID No. 59899
                                   courts@ferencelaw.com

                                   Brian Samuel Malkin
                                   Pa. ID No. 70448
                                   bmalkin@ferencelaw.com

                                   FERENCE & ASSOCIATES LLC
                                   409 Broad Street
                                   Pittsburgh, Pennsylvania 15143
                                   (412) 741-8400 – Telephone
                                   (412) 741-9292 – Facsimile

                                   Attorneys for Plaintiff




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